      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 1 of 13




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
OC MURWORTH, LTD.,                                   )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, OC MURWORTH, LTD., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



                                                 1
       Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 2 of 13




        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

        7.     Defendant, OC MURWORTH, LTD. (hereinafter “OC MURWORTH, LTD.”), is

a Texas limited company that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, OC MURWORTH, LTD., may be properly served with process for

service via its registered agent, to wit:   c/o Orr Realty, Inc., 5400 Katy Freeway, Suite 100,

Houston, TX 77007.

                                  FACTUAL ALLEGATIONS

        9.     On or about May 27, 2021, Plaintiff was a customer at “Lenny’s Grill & Subs” a

business located at 9150 S. Main Street, Houston, TX 77025 referenced herein as “Lenny’s”.

Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached is a

photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

        10.    Plaintiff lives 24 miles from the Property.

        11.    Defendant, OC MURWORTH, LTD., is the owner or co-owner of the real

property and improvements that Lenny’s is situated upon and that is the subject of this action,



                                                 2
      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 3 of 13




referenced herein as the “Property.”

       12.     Plaintiff’s access to the business(es) located 9150 S. Main Street, Houston, TX

77025, Harris County Property Appraiser’s identification number 0451910000069 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, OC MURWORTH, LTD., is compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Property, including those set forth in this Complaint.

       13.     Defendant, OC MURWORTH, LTD., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, OC MURWORTH, LTD., and the tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s independent

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting



                                                 3
      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 4 of 13




the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,
                  segregation, and relegation to lesser service, programs, activities, benefits,
                  jobs, or other opportunities; and

          (v)     the continuing existence of unfair and unnecessary discrimination and
                  prejudice denies people with disabilities the opportunity to compete on an
                  equal basis and to pursue those opportunities for which our free society is


                                                    4
      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 5 of 13




               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



                                                5
      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 6 of 13




       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, OC MURWORTH, LTD., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, OC MURWORTH, LTD., will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, OC MURWORTH, LTD., is



                                                 6
      Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 7 of 13




compelled to remove all physical barriers that exist at the Property, including those specifically

set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     Adjacent to Unit 9150 A1, one of the accessible parking spaces is missing an

                identification sign in violation of Section 502.6 of the 2010 ADAAG standards.

                This violation would make it difficult for Plaintiff to locate an accessible parking

                space.

        (ii)    Adjacent to Unit 9150 A1, the access aisle to the accessible parking space is not

                level due to the presence of an accessible ramp in the access aisle in violation of

                Section 502.4 of the 2010 ADAAG standards. This violation would make it

                dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

                the Property.

        (iii)   Adjacent to Unit 9150 A1, the accessible curb ramp is improperly protruding into

                the access aisle of the accessible parking space in violation of Section 406.5 of the

                2010 ADAAG Standards. This violation would make it difficult and dangerous

                for Plaintiff to exit/enter their vehicle.




                                                    7
Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 8 of 13




 (iv)     Adjacent to Unit 9150 A1, the accessible parking space is not level due to the

          presence of accessible ramp side flares in the accessible parking space in violation

          of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

          make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

          parked at the Property.

 (v)      Adjacent to Unit 9150 A1, the accessible parking space has a cross-slope in

          excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards and is

          not level. This violation would make it dangerous and difficult for Plaintiff to exit

          and enter their vehicle while parked at the Property.

 (vi)     In front of Unit 9150C, one of the accessible parking spaces is missing an

          identification sign in violation of Section 502.6 of the 2010 ADAAG standards.

          This violation would make it difficult for Plaintiff to locate an accessible parking

          space.

 (vii)    In front of Unit 9150C, the access aisle to the accessible parking space is not level

          due to the presence of an accessible ramp in the access aisle in violation of

          Section 502.4 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

          the Property.

 (viii)   In front of Unit 9150C, the accessible curb ramp is improperly protruding into the

          access aisle of the accessible parking space in violation of Section 406.5 of the

          2010 ADAAG Standards. This violation would make it difficult and dangerous

          for Plaintiff to exit/enter their vehicle.




                                              8
Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 9 of 13




 (ix)     In front of Unit 9150C, the accessible parking space is not level due to the

          presence of accessible ramp side flares in the accessible parking space in violation

          of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

          make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

          parked at the Property.

 (x)      In front of Unit 9150C, the accessible parking space has a cross-slope in excess of

          1:48 in violation of Section 502.4 of the 2010 ADAAG standards and is not level.

          This violation would make it dangerous and difficult for Plaintiff to exit and enter

          their vehicle while parked at the Property.

 (xi)     In front of Unit 9150C, the accessible ramp has an opening of 1 inch along the

          entire length of the ramp surface in violation of sections 302.3 and 405.4 of the

          2010 ADAAG Standards. This violation could cause Plaintiff’s wheelchair to get

          stuck in the opening while on the ramp.

 (xii)    In front of Unit 9150C, due to a column located within 36 inches of the accessible

          curb ramp and within its landing area, this accessible curb ramp lacks a clear and

          level landing in violation of section 406.4 of the 2010 ADAAG Standards. This

          barrier makes it difficult for Plaintiff to utilize this ramp to access the units of the

          Property as there is not enough room.

 (xiii)   In front of Unit 9150G, the accessible parking spaces is missing an identification

          sign in violation of Section 502.6 of the 2010 ADAAG standards. This violation

          would make it difficult for Plaintiff to locate an accessible parking space.

 (xiv)    In front of Unit 9150G, the access aisle to the accessible parking space is not level

          due to the presence of an accessible ramp in the access aisle in violation of



                                             9
Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 10 of 13




         Section 502.4 of the 2010 ADAAG standards. This violation would make it

         dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

         the Property.

 (xv)    In front of Unit 9150G, the accessible curb ramp is improperly protruding into the

         access aisle of the accessible parking space in violation of Section 406.5 of the

         2010 ADAAG Standards. This violation would make it difficult and dangerous

         for Plaintiff to exit/enter their vehicle.

 (xvi)   In front of Unit 9150G, the accessible parking space is not level due to the

         presence of accessible ramp side flares in the accessible parking space in violation

         of Sections 502.4 and 406.5 of the 2010 ADAAG standards. This violation would

         make it dangerous and difficult for Plaintiff to exit and enter their vehicle while

         parked at the Property.

 (xvii) In front of Unit 9150G, the accessible parking space has a cross-slope in excess of

         1:48 in violation of Section 502.4 of the 2010 ADAAG standards and is not level.

         This violation would make it dangerous and difficult for Plaintiff to exit and enter

         their vehicle while parked at the Property.

 (xviii) In front of Unit 9150G, the accessible ramp has an opening of 1 inch along the

         entire length of the ramp surface in violation of sections 302.3 and 405.4 of the

         2010 ADAAG Standards. This violation could cause Plaintiff’s wheelchair to get

         stuck in the opening while on the ramp.

 (xix)   Between Units 1950I and 1950J, the walking surfaces of the accessible route have

         a cross-slope in excess of 1:48 in violation of Section 403.3 of the 2010 ADAAG




                                            10
     Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 11 of 13




               standards. This violation would make it dangerous and difficult for Plaintiff to

               access the units of the Property.

       (xx)    Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, OC

MURWORTH, LTD., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $5,558,061.00.

       37.     The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility



                                                   11
     Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 12 of 13




modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

In fact, the parking lot was recently restriped in 2020.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

OC MURWORTH, LTD., is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Property, including those alleged herein.

       41.       Plaintiff’s requested relief serves the public interest.

       42.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, OC MURWORTH, LTD.

       43.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, OC MURWORTH, LTD., pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.       Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, OC

MURWORTH, LTD., to modify the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)       That the Court find Defendant, OC MURWORTH, LTD., in violation of the ADA

                 and ADAAG;

       (b)       That the Court issue a permanent injunction enjoining Defendant, OC

                 MURWORTH, LTD., from continuing their discriminatory practices;



                                                   12
Case 4:21-cv-02051 Document 1 Filed on 06/23/21 in TXSD Page 13 of 13




 (c)   That the Court issue an Order requiring Defendant, OC MURWORTH, LTD., to

       (i) remove the physical barriers to access and (ii) alter the Property to make it

       readily accessible to and useable by individuals with disabilities to the extent

       required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: June 23, 2021

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Southern District of Texas ID No. 3182479
                                     The Schapiro Law Group, P.L
                                     7301-A W. Palmetto Park Rd., #100A
                                     Boca Raton, FL 33433
                                     Tel: (561) 807-7388
                                     Email: schapiro@schapirolawgroup.com




                                        13
